Case 1-Lo; oe2-JMM Voc yv-lé Filed VO/elilo centered Vo/ziilo 1950745

G O | d ste | a H a | | Client Focused. Results Driven.

ATTORNEYS AT LAW

December 19, 2017
VIA EMAIL AND CERTIFIED MAIL

The Law Offices of Izidor Mikhli, PLLC
2995 Quentin Road

Brooklyn, New York 11229

Attention: Izidor Mikhli, Esq.

Re: _ Seller: 1143 Forest Ave LLC
Purchaser: FMTB BH LLC
Premises: 1143 Forest Avenue, Bronx, New York 10456

Dear Mr. Mikhli:

As you are aware, this Firm represents the above-referenced Seller. We are in
receipt of your rejection of Time of the Essence Letter dated December 15, 2017 (but
actually received on December 18, 2017) (“Rejection Letter”). In your Rejection Letter,
you state two alleged failures preventing the Seller from enforcing its rights under that
certain Contract of Sale for the Premises, and schedules, exhibits and riders thereto,
executed by and between the above-referenced Seller and Purchaser dated as of June 19,
2017 (“Original Contract”) and amended by that certain Addendum dated October 4,
2017 (“Addendum,” along with the Original Contract collectively, referred to as the
“Contract”). Both allegations have no merit and must be dismissed entirely.

First, the Purchaser incorrectly claims that Riverside Abstract has not been
contacted to schedule a closing date. In fact, on December 14, 2017 and December 15,
2017, our office corresponded with Leah Newman of Riverside Abstract. See Exhibit A.
Our office provided her documents to clear certain title matters and requested a closer for
the closing. Ms. Newman confirmed receipt of the initial email.

Second, the Purchaser incorrectly claims that Seller was not ready, willing and
able to close on the transaction and deliver clear title at Closing. In fact, title clearance
documents were sent to Purchaser’s title company prior to the closing. Furthermore,
pursuant to the Contract, the Purchaser agreed to an “set a Time of the Essence closing
date of December 18, 2017 (“TOE Closing Date”).” On December 18, 2017, the closing
was held at our office in the presence of a court reporter. You and your client failed to
appear even though prior written notice was given to you of the time and location of the
closing. At the closing, we evidenced the Seller’s ability to transfer title in accordance
with the Contract, which included, but not limited to, the proper authorizations, mortgage
payoff letters, bargain and sale deed and ACRIS documents.

Goldstein Hall PLLC, 80 Broad Street, Suite 303, New York, NY 10004
© 646.768.4100 F 646.219.2450 E info@goldsteinhall.com W www.goldsteinhall.com
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

In conclusion, your client’s failure to close on the transaction by the mutually
agreed to Time of the Essence date of December 18, 2017 pursuant to Section 4 of the
Addendum is a default under the Contract. Pursuant to Section 23(a) of the Contract, our
client deems the Contract cancelled and null and void. The Seller shall retain the
Downpayment and Additional Downpayment as liquidated damages. Furthermore and
only to the extent applicable, the Purchaser’s access and license to the Premises shall be
revoked and terminated, and Purchaser shall advise its employees, consultants,
contractors and other agents to withdraw itself and any materials or supplies stored at the
Premises no later than 5:00 PM EST on December 20, 2017.

Please note that this correspondence shall not serve to act as a waiver of any
other of Seller’s rights and remedies, all of which are expressly reserved.

Should you have any questions or need additional information, then please contact
me at bhsuti:zoldsteinhall.com or 646-768-4103.

Regards,
GOLDS-FEEN HALL PLLC

' Name: Brian Hsu, Esq.
Title: Partner

 

Goldstein Hall PLLC, 80 Broad Street, Suite 303, New York, NY 10004
© 646.768.4100 F 646.219.2450 E info@goldsteinhall.com W www.goldsteinhall.com
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

Brian Hsu Ex\w\b i+ A

From: Leah Newman <LNewman@rsabstract.com>
Sent: Thursday, December 14, 2017 3:14 PM

To: Brian Hsu

Ce: Benjamin Schachter

Subject: RE: RANY-27281

HI Brian,

Thanks for sending these over. | will review and get back to you.

 

Leah Newman » NY Title Coordinator

[x] | d: 718.215.5119 | 0: 718.252.4200

| @: Inewman@rsabstract.com

| 212 Second Street | Suite 502 | Lakewood, NJ 08701

 

 

 

 

Riverside | 1031 | Tacs | Suites | Linkedin | Facebook | Twitter | YouTube

From: Brian Hsu [mailto:bhsu@goldsteinhall.com]

Sent: Thursday, December 14, 2017 11:56 AM

To: Leah Newman <LNewman@rsabstract.com>

Ce: Benjamin Schachter <bschachter @goldsteinhall.com>
Subject: RANY-27281

Attention: This message was sent by an external sender. Do not open attachments or click on links from unknown senders or
unexpected emallis.

 

Good Morning Leah,

tam representing the sellers on this matter. | am reaching out to request a closer for our closing on Monday, Dec. 18 at
10:00 AM at my office. We expect the purchaser to show up as this Is a TOE closing date. Regardless, we would still like
to clear up any title issues in advance of the closing. | have attached the following:

1) Org. docs for the seilers

2) Resolutions for the sellers appointing me as the signatory. 1'll provide signed ones at Closing (if not before)

3) Exception # 8 b, c and d — these are against prior sellers or held in escrow so | can put you in touch with our title
company to omit if not already done so.

4) Exception #8 a e, f, g or h—they are either against similar names or we'll pay/hold.

5) Exception 28/37 —| have attached the bankruptcy order that should resolve this Issue. if not, please let me
know.

6) Mortgages - Payoff letters for various mortgages attached.

I'll provide the draft deeds and ACRIS under separate cover. Let me know If | have not taken of anything.
Looking forward to working with you.

Thanks,
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

fi
GoldsteinHall

ATTORNEYS AT LAW

Brian Hsu

Goldstein Hall PLLC

80 Broad Street, Suite 303
New York, NY 10004

D: 646.768.4103

O: 646.768.4100

F: 646.219.2450
E: bhsu teinhall.com
W: www.gol Inhall.com

fh please consider the environment before printing this email,

CONFIDENTIALITY: This @-mail is confidential and is Intended only for the named recipient(s) and may contain information that ls priv!
attorney work product or exempt from disclosure under applicable law. If you have recelved this message In error, or are not the named
reciplent{s), please immediately notify the sender and delete this e-mail message from your computer.
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

eg

G O | dstei Nn H a | | Client Focused, Results Driven.

ATTORNEYS AT LAW

December 19, 2017
VIA EMAIL AND CERTIFIED MAIL

The Law Offices of Izidor Mikhli, PLLC
2995 Quentin Road

Brooklyn, New York 11229

Attention: Izidor Mikhli, Esq.

Re: Seller: 1821 Topping Ave LLC
Purchaser: FMTB BH LLC
Premises: 1821 Topping Avenue, Bronx, New York 10457

Dear Mr. Mikhli:

As you are aware, this Firm represents the above-referenced Seller. We are in
receipt of your rejection of Time of the Essence Letter dated December 15, 2017 (but
actually received on December 18, 2017) (“Rejection Letter”). In your Rejection Letter,
you state two alleged failures preventing the Seller from enforcing its rights under that
certain Contract of Sale for the Premises, and schedules, exhibits and riders thereto,
executed by and between the above-referenced Seller and Purchaser dated as of June 19,
2017 (“Original Contract”) and amended by that certain Addendum dated October 4,
2017 “Addendum,” along with the Original Contract collectively, referred to as the
“Contract”), Both allegations have no merit and must be dismissed entirely.

First, the Purchaser incorrectly claims that Riverside Abstract has not been
contacted to schedule a closing date. In fact, on December 14, 2017 and December 15,
2017, our office corresponded with Leah Newman of Riverside Abstract. See Exhibit A.
Our office provided her documents to clear certain title matters and requested a closer for
the closing. Ms. Newman confirmed receipt of the initial email. In contradiction to your
Rejection Letter, no lis pendens has been filed against the Premises as evidenced by that
certain title report from Riverside Abstract (title # RANY-27281).

Second, the Purchaser incorrectly claims that Seller was not ready, willing and
able to close on the transaction and deliver clear title at Closing. In fact, title clearance
documents were sent to Purchaser’s title company prior to the closing. Furthermore,
pursuant to the Contract, the Purchaser agreed to an “set a Time of the Essence closing
date of December 18, 2017 (“TOE Closing Date”).” On December 18, 2017, the closing
was held at our office in the presence of a court reporter. You and your client failed to
appear even though prior written notice was given to you of the time and location of the
closing. At the closing, we evidenced the Seller’s ability to transfer title in accordance

Goldstein Hall PLLC, 80 Broad Street, Suite 303, New York, NY 10004
© 646.768.4100 F 646.219.2450 E info@goldsteinhall.com W www.goldsteinhall.com
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

with the Contract, which included, but not limited to, the proper authorizations, mortgage
payoff letters, bargain and sale deed and ACRIS documents.

In conclusion, your client’s failure to close on the transaction by the mutually
agreed to Time of the Essence date of December 18, 2017 pursuant to Section 4 of the
Addendum is a default under the Contract. Pursuant to Section 23(a) of the Contract, our
client deems the Contract cancelled and null and void. The Seller shall retain the
Downpayment and Additional Downpayment as liquidated damages, Furthermore and
only to the extent applicable, the Purchaser’s access and license to the Premises shall be
revoked and terminated, and Purchaser shall advise its employees, consultants,
contractors and other agents to withdraw itself and any materials or supplies stored at the
Premises no later than 5:00 PM EST on December 20, 2017.

Please note that this correspondence shall not serve to act as a waiver of any
other of Seller’s rights and remedies, all of which are expressly reserved.

Should you have any questions or need additional information, then please contact
me at bhsu(izoldsteinhall.com or 646-768-4103.

Regards,
GOLDSTEIN HALL PLLC

Name: Brian Hsu, Esq.
Title: Partner

Goldstein Hall PLLC, 80 Broad Street, Suite 303, New York, NY 10004
© 646.768.4100 F 646.219.2450 E info@goldsteinhall.com W www.goldsteinhall.com
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

Brian Hsu ib it A

From: Leah Newman <LNewman@rsabstract.com>
Sent: Thursday, December 14, 2017 3:14 PM

To: Brian Hsu

Cc: Benjamin Schachter

Subject: RE: RANY-27281

Hi Brian,

Thanks for sending these over. | will review and get back to you.

 

Leah Newman + NY Title Coordinator

[=] | d: 718.215.5119 | 0: 718.252.4200

| o: Inewman@rsabstract.com

| 212 Second Street | Sulte 502 | Lakewood, NJ 08701

Riverside | 1031 | Tacs | Sultes | Linkedin | Facabook | Twitter | YouTube

 

 

 

 

From: Brian Hsu [malito:bhsu@goldsteinhall.com]

Sent: Thursday, December 14, 2017 11:56 AM

To: Leah Newman <LNewman@rsabstract.com>

Cc: Benjamin Schachter <bschachter@goldsteinhall.com>
Subject: RANY-27281

Attention: This message was sent by an external sender, Do not open attachments or click on links from unknown senders or
unexpected emalis.

 

Good Morning Leah,

lam representing the sellers on this matter. | am reaching out to request a closer for our closing on Monday, Dec. 18 at
10:00 AM at my office. We expect the purchaser to show up as this Is a TOE closing date. Regardless, we would still IIke
to clear up any title Issues in advance of the closing. | have attached the following:

1) Org. docs for the sellers

2) Resolutions for the sellers appointing me as the signatory. I'll provide signed ones at closing {if not before)

3) Exception #8 b, c and d - these are against prior sellers or held in escrow so t can put you in touch with our title
company to omit if not already done so.

4) Exception #8 ae, f, g or h— they are elther against similar names or we'll pay/hold.

5) Exception 28/37 —I have attached the bankruptcy order that should resolve this Issue. {f not, please let me
know.

6) Mortgages - Payoff letters for various mortgages attached.

1’ll provide the draft deeds and ACRIS under separate cover. Let me know If I have not taken of anything.
Looking forward to working with you.

Thanks,
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

Fi
GoldsteinHall

ATTORNEYS AT LAW

Brian Hsu

Goldstein Hall PLLC

80 Broad Street, Suite 303
New York, NY 10004

D: 646.768.4103

O: 646.768.4100

F: 646.219.2450

E: bhsu@goldsteinhall.com

W: www. stainhall.com

= please consider the environment before printing this email.

CONFIDENTIALITY: This e-mail is confidential and is Intended only for the named reciplent(s) and may contain Information that
attomey work product or exempt from disclosure under applicable law. If you have recelved this message In error, or are not the Rened
recipient(s), please Immediately notify the sender and delete this e-mail measage from your computer.
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

ef

G O | d ste l Nn H a | Client Focused. Results Driven.

ATTORNEYS AT LAW

December 19, 2017
VIA EMAIL AND CERTIFIED MAIL

The Law Offices of Izidor Mikhli, PLLC
2995 Quentin Road

Brooklyn, New York 11229

Attention: Izidor Mikhli, Esq.

Re: _ Seller: 1974 Morris Ave LLC
Purchaser: FMTBBHLLC
Premises: 1974 Morris Avenue, Bronx, New York 10457

Dear Mr. Mikhli:

As you are aware, this Firm represents the above-referenced Seller. We are in
receipt of your rejection of Time of the Essence Letter dated December 15, 2017 (but
actually received on December 18, 2017) (“Rejection Letter”). In your Rejection Letter,
you state two alleged failures preventing the Seller from enforcing its rights under that
certain Contract of Sale for the Premises, and schedules, exhibits and riders thereto,
executed by and between the above-referenced Seller and Purchaser dated as of June 19,
2017 (“Original Contract”) and amended by that certain Addendum dated October 4,
2017 “Addendum,” along with the Original Contract collectively, referred to as the
“Contract”). Both allegations have no merit and must be dismissed entirely.

First, the Purchaser incorrectly claims that Riverside Abstract has not been
contacted to schedule a closing date. In fact, on December 14, 2017 and December 15,
2017, our office corresponded with Leah Newman of Riverside Abstract. See Exhibit A.
Our office provided her documents to clear certain title matters and requested a closer for
the closing. Ms. Newman confirmed receipt of the initial email.

Second, the Purchaser incorrectly claims that Seller was not ready, willing and
able to close on the transaction and deliver clear title at Closing. In fact, title clearance
documents were sent to Purchaser’s title company prior to the closing. Furthermore,
pursuant to the Contract, the Purchaser agreed to an “set a Time of the Essence closing
date of December 18, 2017 (“TOE Closing Date”).” On December 18, 2017, the closing
was held at our office in the presence of a court reporter. You and your client failed to
appear even though prior written notice was given to you of the time and location of the
closing. At the closing, we evidenced the Seller’s ability to transfer title in accordance
with the Contract, which included, but not limited to, the proper authorizations, mortgage
payoff letters, bargain and sale deed and ACRIS documents.

Goldstein Hall PLLC, 80 Broad Street, Suite 303, New York, NY 10004
O 646.768.4100 F 646.219.2450 E info@goldsteinhall.com W www.goldsteinhall.com
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

In conclusion, your client’s failure to close on the transaction by the mutually
agreed to Time of the Essence date of December 18, 2017 pursuant to Section 4 of the
Addendum is a default under the Contract. Pursuant to Section 23(a) of the Contract, our
client deems the Contract cancelled and null and void. The Seller shall retain the
Downpayment and Additional Downpayment as liquidated damages. Furthermore and
only to the extent applicable, the Purchaser’s access and license to the Premises shall be
revoked and terminated, and Purchaser shall advise its employees, consultants,
contractors and other agents to withdraw itself and any materials or supplies stored at the
Premises no later than 5:00 PM EST on December 20, 2017.

Please note that this correspondence shall not serve to act as a waiver of any
other of Seller’s rights and remedies, all of which are expressly reserved.

Should you have any questions or need additional information, then please contact
me at bhsu@goldsteinhall.com or 646-768-4103.

Regards,

GOLDSTEIN HALL PLLC
ee a
a a ee en

/ Name: Brian Hsu, Esq.
Title: Partner

Goidstein Hall PLLC, 80 Broad Street, Suite 303, New York, NY 10004
© 646.768.4100 F 646.219.2450 E info@goldsteinhall.com W www.goldsteinhall.com
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

Brian Hsu nian cle A.

  

From: Leah Newman <LNewman@rsabstract.com>
Sent: Thursday, December 14, 2017 3:14 PM

To: Brian Hsu

Ce: Benjamin Schachter

Subject: RE: RANY-27281

Hi Brian,

Thanks for sending these over. ! will review and get back to you.

 

Leah Newman = NY Title Coordinator

[=] | d: 718.216.5119 | 0: 718.252.4200

| o: Inewman@rsabstract.com

| 212 Second Street | Sulte 502 | Lakewood, NJ 08704

 

 

 

 

Riverside | 1031 | Tacs | Sultes | LinkedIn | Facabook | Twitter | YouTube

From: Brian Hsu [mailto:bhsu@goldsteinhall.com)

Sent: Thursday, December 14, 2017 11:56 AM

To: Leah Newman <LNewman@rsabstract.com>

Cc: Benjamin Schachter <bschachter@goldsteinhall.com>
Subject: RANY-27281

Attention: This message was sent by an extemal sender. Do not open attachments or click on links from unknown senders or
unexpected emalls.

Good Morning Leah,

1am representing the sellers on this matter. | am reaching out to request a closer for our closing an Monday, Dec. 18 at
10:00 AM at my office. We expect the purchaser to show up as this is a TOE closing date. Regardless, we would still like
to clear up any title Issues in advance of the closing. | have attached the following:

1) Org. docs for the sellers

2) Resolutions for the sellers appointing me as the signatory. I'll provide signed ones at closing (if not before)

3) Exception # 8 b, cand d— these are against prior sellers or held in escrow so | can put you In touch with our title
company to omit if not already done so.

4) Exception #8 a e, f, g or h—they are either against similar names or we'll pay/hold.

5) Exception 28/37 —| have attached the bankruptcy order that should resolve this Issue. if not, please let me
know.

6) Mortgages - Payoff letters for various mortgages attached.

I'll provide the draft deeds and ACRIS under separate cover. Let me know if | have not taken of anything.
Looking forward to working with you.

Thanks,
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

a
GoldsteinHall

ATTORMEYS AT LAW

Brian Hsu

Goldstein Hall PLLC

80 Broad Sireet, Sulte 303
New York, NY 10004

D: 646.768.4103
O: 646.768.4100
F: 646.219.2450
E: bhsu@goldsteinhall.com

W: www.goldsteinhall.com

me please consider the environment before printing this email.

CONFIDENTIALITY: This 6-mail Is confidential and is intended only for the named reciplent(s) and may contain Information that
attorney work product or exempt from disclosure under applicable law. If you have received this message in error, or are not the rene
recipient(s), please Immediately notify the sender and delete this e-mail message from your computer.
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

ei

G O | d stel Nn H a | | Client Focused. Results Driven.

ATTORNEYS AT LAW

December 19, 2017
VIA EMAIL AND CERTIFIED MAIL

The Law Offices of Izidor Mikhli, PLLC
2995 Quentin Road

Brooklyn, New York 11229

Attention: Izidor Mikhli, Esq.

Re: _ Seller: 1988 Morris Ave LLC
Purchaser: FMTB BH LLC
Premises: 1988 Morris Avenue, Bronx, New York 10453

Dear Mr. Mikhli:

As you are aware, this Firm represents the above-referenced Seller. We are in
receipt of your rejection of Time of the Essence Letter dated December 15, 2017 (but
actually received on December 18, 2017) (“Rejection Letter”). In your Rejection Letter,
you state three alleged failures preventing the Seller from enforcing its rights under that
certain Contract of Sale for the Premises, and schedules, exhibits and riders thereto,
executed by and between the above-referenced Seller and Purchaser dated as of June 19,
2017 (“Original Contract”) and amended by that certain Addendum dated October 4,
2017 (“Addendum,” along with the Original Contract collectively, referred to as the
“Contract”). All three allegations have no merit and must be dismissed entirely.

First, the Purchaser incorrectly claims that Riverside Abstract has not been
contacted to schedule a closing date. In fact, on December 14, 2017 and December 15,
2017, our office corresponded with Leah Newman of Riverside Abstract. See Exhibit A.
Our office provided her documents to clear certain title matters and requested a closer for
the closing. Ms. Newman confirmed receipt of the initial email.

Second, the Purchaser incorrectly claims that Seller was not ready, willing and
able to close on the transaction and deliver clear title at Closing. In fact, title clearance
documents were sent to Purchaser’s title company prior to the closing. Furthermore,
pursuant to the Contract, the Purchaser agreed to an “set a Time of the Essence closing
date of December 18, 2017 (“TOE Closing Date”).” On December 18, 2017, the closing
was held at our office in the presence of a court reporter. You and your client failed to
appear even though prior written notice was given to you of the time and location of the
closing. At the closing, we evidenced the Seller's ability to transfer title in accordance
with the Contract, which included, but not limited to, the proper authorizations, mortgage
payoff letters, bargain and sale deed and ACRIS documents.

Goldstein Hall PLLC, 80 Broad Street, Suite 303, New York, NY 10004
© 646.768.4100 F 446.219.2450 £ info@goldsteinhall.com W www.goldsteinhall.com
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

Third, the Purchaser incorrectly claims that substantial damage was discovered
after entering into the contract for the Premises. In fact, the Premises is in the same
substantial condition, subject to reasonable use, wear, tear and natural deterioration, as it
was when the Contract was executed. Furthermore, pursuant to Section 5 of the
Addendum, the Premises is to be sold in an “AS-IS” condition. The Purchaser provides
no evidence to the contrary. Therefore, the Purchaser fails to prove this allegation.

In conclusion, your client’s failure to close on the transaction by the mutually
agreed to Time of the Essence date of December 18, 2017 pursuant to Section 4 of the
Addendum is a default under the Contract. Pursuant to Section 23(a) of the Contract, our
client deems the Contract cancelled and null and void. The Seller shall retain the
Downpayment and Additional Downpayment as liquidated damages. Furthermore and
only to the extent applicable, the Purchaser’s access and license to the Premises shall be
revoked and terminated, and Purchaser shall advise its employees, consultants,
contractors and other agents to withdraw itself and any materials or supplies stored at the
Premises no later than 5:00 PM EST on December 20, 2017.

Please note that this correspondence shall not serve to act as a waiver of any
other of Seller’s rights and remedies, all of which are expressly reserved.

Should you have any questions or need additional information, then please contact
me at bhsu@goldsteinhall,com or 646-768-4103.

Regards,
GOLDSTEIN HALL PLLC

——>
= -

Name: Brian Hsu, Esq.
Title: Partner

Goldstein Hall PLLC, 80 Broad Street, Suite 303, New York, NY 10004
© 646.768.4100 F 646.219.2450 E info@goldsteinhall.com W www.goldsteinhall.com
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

Brian Hsu Echo i+ A

From: Leah Newman <LNewman@rsabstract.com>
Sent: Thursday, December 14, 2017 3:14 PM

To: Brian Hsu

Ce: Benjamin Schachter

Subject: RE: RANY-27281

Hi Brian,

Thanks for sending these over. | will review and get back to you.

 

Leah Newman + NY Title Coordinator

[>] {| d: 718.215.5119 | 0: 718.252.4200

| e: inewman@reabstract.com

| 212 Second Street | Suite 502 | Lakewood, NJ 08701

 

 

 

Riverside | 1037 | Tacs | Suites | Linkedin | Facebook | Twitter | YouTube

 

From: Brian Hsu [malito:bhsu@goldstelnhall.com]

Sent: Thursday, December 14, 2017 11:56 AM

To: Leah Newman <LNewman@rsabstract.com>

Ce: Benjamin Schachter <bschachter@goldstelnhall.com>
Subject: RANY-27281

Attention: This message was sent by an external sender. Do not open attachments or click on links from unknown senders or
unexpected emails.

Good Morning Leah,
| am representing the sellers on this matter. | am reaching out to request a closer for our closing on Monday, Dec. 18 at

10:00 AM at my office. We expect the purchaser to show up as this is a TOE closing date. Regardless, we would still lke
to clear up any title Issues In advance of the closing. | have attached the following:

1} Org. docs for the seilers

2) Resolutions for the sellers appointing me as the signatory. I'll provide signed ones at closing (if not before)

3) Exception #8 b, c and d—these are agalnst prior sellers or held in escrow so I can put you in touch with our title
company to omit If not already done so.

4) Exception #8 ae, f, g or h—they are either against similar names or we'll pay/hold.

5) Exception 28/37 —| have attached the bankruptcy order that should resolve this issue. If not, please let me
know.

6) Mortgages - Payoff letters for various mortgages attached.

ll provide the draft deeds and ACRIS under separate cover. Let me know if I have not taken of anything.
Looking forward to working with you.

Thanks,
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

FP
GoldsteinHall

ATTORNEYS AT LAW

Brian Hsu

Goldstein Hall PLLC

80 Broad Street, Suite 303
New York, NY 10004

D: 646.768.4103

O: 646.768.4100

F: 646.219.2450

E: bhsu@goldsteinhall.com
W: www.goldsteinhall.com

“s please consider the environment before printing this emall.

CONFIDENTIALITY: This ¢-mall Is confidential and is intended only for the named reciplent(s) and may contain Information that is privileged
attomey work product or exempt from disclosure under applicable law. If you have received this message In error, or are not the named
reciplent(s), please Immediately notify the sender and delete this e-mall message from your computer.
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

eR

G O | d ste I N H a | | Client Focused. Results Driven.

ATTORNEYS AT LAW

December 19, 2017
VIA EMAIL AND CERTIFIED MAIL

The Law Offices of Izidor Mikhli, PLLC
2995 Quentin Road

Brooklyn, New York 11229

Attention: Izidor Mikhli, Esq.

Re: Seller: 700 Beck Street LLC
Purchaser: FMTB BH LLC
Premises: 770 Beck Street, Bronx, New York 10455

Dear Mr. Mikhli:

As you ate aware, this Firm represents the above-referenced Seller. We are in
receipt of your rejection of Time of the Essence Letter dated December 15, 2017 (but
actually received on December 18, 2017) (“Rejection Letter”). In your Rejection Letter,
you state three alleged failures preventing the Seller from enforcing its rights under that
certain Contract of Sale for the Premises, and schedules, exhibits and riders thereto,
executed by and between the above-referenced Seller and Purchaser dated as of June 19,
2017 (“Original Contract”) and amended by that certain Addendum dated October 4,
2017 (“Addendum,” along with the Original Contract collectively, referred to as the
“Contract”). All three allegations have no merit and must be dismissed entirely.

First, the Purchaser incorrectly claims that Riverside Abstract has not been
contacted to schedule a closing date. In fact, on December 14, 2017 and December 15,
2017, our office corresponded with Leah Newman of Riverside Abstract. See Exhibit A.
Our office provided her documents to clear certain title matters and requested a closer for
the closing. Ms. Newman confirmed receipt of the initial email.

Second, the Purchaser incorrectly claims that Seller was not ready, willing and
able to close on the transaction and deliver clear title at Closing. In fact, title clearance
documents were sent to Purchaser’s title company prior to the closing. Furthermore,
pursuant to the Contract, the Purchaser agreed to an “set a Time of the Essence closing
date of December 18, 2017 (“TOE Closing Date”).” On December 18, 2017, the closing
was held at our office in the presence of a court reporter. You and your client failed to
appear even though prior written notice was given to you of the time and location of the
closing. At the closing, we evidenced the Seller’s ability to transfer title in accordance

Goldstein Hall PLLC, 80 Broad Street, Suite 303, New York, NY 10004
© 646.768.4100 F 646.219.2450 E info@goldsteinhall.com W www.goldsteinhall.com
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

with the Contract, which included, but not limited to, the proper authorizations, mortgage
payoff letters, bargain and sale deed and ACRIS documents,

Third, the Purchaser incorrectly claims that a lease for the 1" floor of the Premises
was fraudulent and a misrepresentation of a material fact. The Purchaser fails to provide
any evidence asserting this claim. Furthermore, the Contract makes no mention nor has
any reference to a commercial lease or commercial tenancy. Therefore, the Purchaser
fails to show that the Contract or transfer of title was induced by material fraud.

In conclusion, your client’s failure to close on the transaction by the mutually
agreed to Time of the Essence date of December 18, 2017 pursuant to Section 4 of the
Addendum is a default under the Contract. Pursuant to Section 23(a) of the Contract, our
client deems the Contract cancelled and null and void. The Seller shail retain the
Downpayment and Additional Downpayment as liquidated damages. Furthermore and
only to the extent applicable, the Purchaser’s access and license to the Premises shall be
revoked and terminated, and Purchaser shall advise its employees, consultants,
contractors and other agents to withdraw itself and any materials or supplies stored at the
Premises no later than 5:00 PM EST on December 20, 2017.

Please note that this correspondence shall not serve to act as a waiver of any
other of Seller’s rights and remedies, all of which are expressly reserved.

Should you have any questions or need additional information, then please contact
me at bhsu@goldsteinhall.com or 646-768-4103.

Regards,
GOLDSTEIN HALL PLLC

a Los
Name: Brian Hsu, Esq.
Title: Partner

Goldstein Hall PLLC, 80 Broad Street, Suite 303, New York, NY 10004
© 646.768.4100 F 646.219.2450 E info@goldsteinhall.com W www.goldsteinhall.com
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

Brian Hsu Ex i+ A

From: Leah Newman <LNewman@rsabstract.com>
Sent: Thursday, December 14, 2017 3:14 PM

To: Brian Hsu

Ce: Benjamin Schachter

Subject: RE: RANY-27281

Hi Brian,

Thanks for sending these over. | will review and get back to you.

 

Leah Newman « NY Title Coordinator

[x] | d: 718.215.6119 | 0: 718.252.4200

| @: Inewman@rsabstract.com

| 212 Second Street | Sulte 502 | Lakewood, NJ 08701

Riverside | 1031 | Tacs | Sultes | Linkedin | Facebook | Twitter | YouTube

 

 

 

 

From: Brian Hsu [malito:bhsu@goldstetnhall.com]

Sent: Thursday, December 14, 2017 11:56 AM

To: Leah Newman <LNewman@rsabstract.com>

Cc; Benjamin Schachter <bschachter@goldsteinhall.com>
Subject: RANY-27281

Attention: This message was sent by an external sender. Do not open attachments or click on [Inks from unknown senders or
unexpected emails.

 

Good Morning Leah,

tam representing the sellers on this matter. | am reaching out to request a closer for our closing on Monday, Dec. 18 at
10:00 AM at my office. We expect the purchaser to show up as this Is a TOE closing date. Regardless, we would still like
to clear up any title Issues in advance of the closing. | have attached the following:

1) Org. docs for the sellers

2) Resolutions for the sellers appointing me as the signatory. I'll provide signed ones at closing (if not before)

3) Exception #8 b, c and d — these are against prior sellers or held in escrow so | can put you in touch with our title
company to omit if not already done so.

4) Exception #8 a e, f, g or h— they are either against similar names or we'll pay/hold.

5) Exception 28/37 —| have attached the bankruptcy order that should resolve this issue. if not, please let me
know.

6) Mortgages - Payoff letters for various mortgages attached.

Ili provide the draft deeds and ACRIS under separate cover. Let me know If | have not taken of anything.
Looking forward to working with you.

Thanks,
Case 1-Llo-OLl0o¢-jmM DOC yv-le Filed OO/zlilo Entered Vo/ziilo 19150745

f

GoldsteinHal

WS AT by

Brian Hsu

Goldstein Hall PLLC

80 Broad Street, Sulte 303
New York, NY 10004

D: 646.768.4103

O: 646.768.4100
F: 646.219.2450
E: oldsteinhall.co

W: www, goldsteinhall.com

& please consider the environment before printing this email.

CONFIDENTIALITY: This e-mail Is confidential and is intended only for the named reciplent(s) and may contain Information that Is privil
attomey work product or exempt from disclosure under applicable law. If you have recaived this message in error, or are not the nemed
raciplent(s), please immediately notify the sender and delete this e-mail message from your computer.
